       Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 1 of 17




                 UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TEXAS
                        AUSTIN DIVISION


JOEY RAMOS,                          *
an individual,                       *
                                     *
      PLAINTIFF,                     *
                                     *
v.                                   * Case No. 22-CV-547
                                     *
FRIS CHKN LLC                        *
a limited liablity company           *
and                                  *
CAJUN OPERATING                      *
COMPANY,                             *
a domestic corporation,              *
                                     *
       DEFENDANTS.



                                COMPLAINT

      Plaintiff JOEY RAMOS (“RAMOS” or “Plaintiff”) hereby sues Defendants,

FRIS CHKN LLC, limited liability company, and CAJUN OPERATING

COMPANY, domestic corporation, (hereinafter “Defendants”) pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), and its

implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”) and alleges as follows:

                      JURISDICTION AND PARTIES

                                                                      Page 1 of 17
        Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 2 of 17




       1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.

§ 12181 et seq., based upon Defendants’, FRIS CHKN LLC and CAJUN

OPERATING COMPANY, failure to remove physical barriers to access and

violations of Title III of the ADA.

       2.     Venue is properly located in the Western District of Texas Austin

Division pursuant to 28 U.S.C. § 1391(b) because venue lies in the judicial district

of the property situs or the judicial district in which a substantial part of the events

or omissions giving rise to Plaintiff’s claims occurred. The Defendants’ property is

located in and does business within this judicial district and all events giving rise to

this lawsuit occurred in this judicial district.

       3.     Plaintiff, JOEY RAMOS, is and has been at all times relevant to the

instant matter, a natural person residing in Texas and is sui juris.

       4.     Plaintiff is an individual with disabilities as defined by the ADA.

       5.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

                                                                              Page 2 of 17
        Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 3 of 17




civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make him home

community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      8.     Defendant, FRIS CHKN LLC, is a limited liability company

conducting business in the State of Texas and within this judicial district.

      9.     Defendant, CAJUN OPERATING COMPANY, is a domestic

corporation conducting business in the State of Texas and within this judicial district.

                           FACTUAL ALLEGATIONS

      10.    On or about December of 2021, Plaintiff attempted to but was deterred

from patronizing, and/or gaining equal access as a disabled patron to the Church's

Chicken located at 8545 Research Blvd, Austin, TX 78758 (“Subject Facility”,

“Subject Property”).

      11.    FRIS CHKN LLC and CAJUN OPERATING COMPANY are the

owners, lessors, and/or operators/lessees of the real property and improvements that

are the subject of this action, specifically the Church's Chicken and their attendant

                                                                               Page 3 of 17
        Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 4 of 17




facilities, including vehicular parking and common exterior paths of travel within

the site identified by the Travis County Assessor parcel identification number

244687 (“Subject Facility”, “Subject Property”).

      12.    Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on Research Blvd, a Travis County thoroughfare that

he frequents routinely, he is routinely where the Subject Property is located and

travels in and about the immediate area of the Subject Property numerous times

every month, if not every week.

      13.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of him

disabilities, and he will be denied and/or limited in the future unless and until

Defendants, FRIS CHKN LLC and CAJUN OPERATING COMPANY, are

compelled to remove the physical barriers to access and correct the ADA violations

that exist at the Subject Property, including those set forth in this Complaint.

      14.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron, to

                                                                              Page 4 of 17
        Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 5 of 17




determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      15.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendants’ non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile

gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      16.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      17.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).



                                                                            Page 5 of 17
       Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 6 of 17




     18.    The Subject Property is a public accommodation and service

establishment.

     19.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

     20.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     21.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     22.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in him capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of him

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit him

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.




                                                                           Page 6 of 17
       Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 7 of 17




     23.     Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of him disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Subject Property that

preclude and/or limit him access to the Subject Property and/or the goods, services,

facilities, privileges, advantages and/or accommodations offered therein, including

those barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     24.     Defendants,    FRIS    CHKN      LLC     and   CAJUN       OPERATING

COMPANY, have discriminated against Plaintiff (and others with disabilities) by

denying him access to, and full and equal enjoyment of the goods, services,

facilities, privileges, advantages and/or accommodations of the Subject Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42

U.S.C. § 12182(b)(2)(A)(iv).

     25.     Defendants,    FRIS    CHKN      LLC     and   CAJUN       OPERATING

COMPANY, will continue to discriminate against Plaintiff and others with

disabilities unless and until FRIS CHKN LLC and CAJUN OPERATING

COMPANY, are compelled to remove all physical barriers that exist at the Subject

                                                                             Page 7 of 17
       Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 8 of 17




Property, including those specifically set forth herein, and make the Subject

Property accessible to and usable by Plaintiff and other persons with disabilities.

     26.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:


                       ACCESSIBLE ROUTES/PARKING
                                (Exterior)

            a. The paint delineating the accessible parking spaces and
               access aisles is not being maintained so that it clearly
               marks the accessible parking location in violation of 28
               CFR § 36.211, Section 4.6 of the 1991 ADAAG, and
               Section 502.3.3 of the 2010 ADAAG. These violations
               made it dangerous for Plaintiff to utilize the parking
               facility at the Subject Property and caused Plaintiff loss
               of opportunity.

            b. There is no van accessible parking identified as such
               with upright “Van Accessible” signage in violation of
               Section 4.6 of the 1991 ADAAG and Sections 208, 302
               and 502 of the 2010 ADAAG. These violations made
               it dangerous for Plaintiff to utilize the parking facility
               at the Subject Property and caused Plaintiff loss of
               opportunity.

            c. There is no visible upright signage (displaying the
               International Symbol of Accessibility) designating any
               parking spaces as accessible in violation of Section 4.6
                                                                            Page 8 of 17
Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 9 of 17




       of the 1991 ADAAG and Section 502 of the 2010
       ADAAG. These violations made it dangerous for
       Plaintiff to utilize the parking facility at the Subject
       Property and caused Plaintiff loss of opportunity.

    d. There is no van-accessible parking present in violation
       of Section 4.6 of the 1991 ADAAG and Section 502 of
       the 2010 ADAAG. These violations made it dangerous
       for Plaintiff to utilize the parking facility at the Subject
       Property and caused Plaintiff loss of opportunity.

    e. There are slope variations at the purported accessible
       parking spaces with changes in direction that have
       caused a compound cross slope in violation of Sections
       4.5.1 and 4.6.3 of the 1991 ADAAG and Section 302,
       403, and 502.4 of the 2010 ADAAG. These
       violations made it dangerous for Plaintiff to utilize the
       parking facility at the Subject Property and caused
       Plaintiff loss of opportunity.

    f. The plaintiff could not safely utilize the parking facility
       because the access aisles serving the designated
       accessible parking spaces are not level in all directions
       (creating small pools of standing water within the
       spaces in rainy conditions) because of Defendant’s
       practice of failing to inspect and maintain the parking
       surface in violation of 28 CFR § 36.211, Section 4.6.3
       of the 1991 ADAAG and Section 502.4 of the 2010
       ADAAG. These violations made it dangerous for
       Plaintiff to utilize the parking facility at the Subject
       Property and caused Plaintiff loss of opportunity.

                                 RAMP

    g. The access aisle adjacent to the designated accessible
       spaces has a curb ramp projecting into it and/or has
       surfaces which are otherwise not level in all directions
                                                                      Page 9 of 17
Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 10 of 17




       in violation of 28 CFR § 36.211, Section 4.6.3 of the
       1991 ADAAG and Section 502.4 of the 2010 ADAAG.
       These violations made it dangerous for Plaintiff to
       utilize the parking facility at the Subject Property and
       caused Plaintiff loss of opportunity.

    h. The curb ramp leading        to      the     entrance of
       the Subject Property from the parking facility
       has flared sides, which are steeper than 1:10. This is in
       violation of 28 CFR § 36.211, 4.7.5 of the 1991
       ADAAG, and 406.3          of 2010        ADAAG. These
       violations made it dangerous for Plaintiff to utilize the
       parking facility at the Subject Property and caused
       Plaintiff loss of opportunity.

                   MAINTENANCE PRACTICES

    i. Defendants have a practice of failing to maintain the
       accessible features of the facility, creating barriers to
       access for the Plaintiff, as set forth herein, in violation
       of 28 CFR § 36.211. This practice prevented access to
       the plaintiff equal to that of Defendants’ able-bodied
       customers causing Plaintiff loss of opportunity.

    j. Defendants have a practice of failing to maintain the
       accessible elements at the Subject Facility by
       neglecting their continuing duty to review, inspect, and
       discover transient accessible elements which by the
       nature of their design or placement, frequency of usage,
       exposure to weather and/or other factors, are prone to
       shift from compliant to noncompliant so that said
       elements may be discovered and remediated.
       Defendants have failed and continue to fail to alter their
       inadequate maintenance practices to prevent future
       recurrence of noncompliance with dynamic accessible
       elements at the Subject Facility in violation of 28 CFR
       § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
                                                                     Page 10 of 17
       Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 11 of 17




                These violations, as set forth hereinabove, made it
                impossible for Plaintiff to experience the same access
                to the goods, services, facilities, privileges, advantages
                and accommodations of the Subject Facility as
                Defendants’ able-bodied patrons and caused Plaintiff
                loss of opportunity.

             k. Defendants have failed to modify their discriminatory
                maintenance practices to ensure that, pursuant to their
                continuing duty under the ADA, the Subject Property
                remains readily accessible to and usable by disabled
                individuals, including Plaintiff, as set forth herein, in
                violation of 28 CFR § 36.302 and 36.211. This failure
                by Defendants prevented access to the plaintiff equal to
                that of Defendants’ able-bodied customers causing
                Plaintiff loss of opportunity.

      27.    The discriminatory violations described above are not an exhaustive list

of the Defendants’ current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, he has actual notice that

the defendant does not intend to comply with the ADA.

      28.    The Defendants have a practice of failing to maintain the accessible

                                                                             Page 11 of 17
       Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 12 of 17




elements at the Subject Property by neglecting their continuing duty to review,

inspect, and discover transient accessible elements which by the nature of its design

or placement, frequency of usage, exposure to weather and/or other factors, are

prone to shift from compliant to noncompliant, so that said elements are discovered

and remediated. Defendants have failed and continue to fail to alter their inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendants’

able-bodied patrons.

      29.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      30.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      31.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

                                                                            Page 12 of 17
       Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 13 of 17




out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      32.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      33.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      34.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendants.

      35.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendants have the financial resources to make the

modifications, including the financial assistance made available to Defendants by

the government pursuant to Section 44 and/or Section 190 of the IRS Code.

      36.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendants contribute to

                                                                             Page 13 of 17
       Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 14 of 17




Plaintiff’s sense of isolation and segregation and deprive Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      37.    Defendants are required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for their places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendants’ place of public

accommodation since January 26, 1992, then Defendants are required to ensure to

the maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendants’ facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendants facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendants have

failed to comply with this mandate.

      38.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendants, FRIS CHKN LLC and CAJUN OPERATING

COMPANY, are required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Subject Property, including those alleged herein.

                                                                            Page 14 of 17
        Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 15 of 17




Considering the balance of hardships between the Plaintiff and Defendants, a remedy

in equity is warranted.

       39.    Plaintiff’s requested relief serves the public interest.

       40.    Plaintiff’s counsel is entitled to recover him reasonable attorneys’ fees

and costs of litigation from Defendants, FRIS CHKN LLC and CAJUN

OPERATING COMPANY, pursuant to 42 U.S.C. §§ 12188, 12205 and 28 CFR

36.505. Plaintiff will be denied full and equal access to the subject premises, as

provided by the ADA unless the injunctive relief requested herein is granted.

       41.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendants to fulfill their continuing duty

to maintain the accessible features at the premises in the future as mandated by 28

CFR 36.211.

       WHEREFORE, the Plaintiff prays as follows:

       A.     That the Court find Defendants, FRIS CHKN LLC and
              CAJUN OPERATING COMPANY, in violation of the
              ADA and ADAAG;

       B.     That the Court enter an Order requiring Defendants, FRIS
              CHKN LLC and CAJUN OPERATING COMPANY, to
              (i) remove the physical barriers to access and (ii) alter the
              Subject Property to make the Subject Property readily
                                                                                Page 15 of 17
       Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 16 of 17




            accessible to and useable by individuals with disabilities
            to the full extent required by Title III of the ADA;

      C.    That the Court enter an Order directing Defendants,
            pursuant to 28 C.F.R. §36.211, to fulfill their continuing
            duty to maintain their accessible features and equipment
            so that the facility remains accessible to and useable by
            individuals with disabilities to the full extent required by
            Title III of the ADA;

      D.    That the Court enter an Order directing Defendants to
            implement and carry out effective policies, practices, and
            procedures to maintain the accessible features and
            equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
            §36.211.

      E.    That the Court enter an Order directing Defendants to
            evaluate and neutralize their policies and procedures
            towards persons with disabilities for such reasonable time
            so as to allow them to undertake and complete corrective
            procedures;

      F.    An award of attorneys’ fees, costs (including expert fees),
            and litigation expenses pursuant to 42 U.S.C. § 12205 and
            an award of monitoring fees associated with insuring that
            the Defendants are in compliance with the ADA.

      G.    An award of interest upon the original sums of said award
            of attorney’s fees, costs (including expert fees), and other
            expenses of suit; and

      H.    Such other relief as the Court deems just and proper,
            and/or is allowable under Title III of the Americans with
            Disabilities Act.


Dated this the 6th day of June, 2022.



                                                                           Page 16 of 17
      Case 1:22-cv-00547-RP Document 1-2 Filed 06/06/22 Page 17 of 17




                                        Respectfully submitted,
                                        By: /s/ Matthew Sapp, Esq.
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                                                                     Page 17 of 17
